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EXHIBIT “K”
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
x

BENITO RODRIGO FAJARDO TARQUI and
LUIS A. FARJARDO, as Administrators of the
Estate of MARIA T. QUIRIDUMBAY, Deceased,
Affirmation
Plaintiffs,
-against-

UNITED STATES OF AMERICA,

Defendant.
x

IRA MEHLMAN, MD, a Doctor of Medicine duly licensed to practice in the State of
New York, affirms the following under CPLR section 2106:

T affirm that the opinions set forth in my report dated December 9, 2015, are true and
correct within a reasonable degree of medical certainty. The contents of the report are
incorporated herein by reference.

Dated: New York, New York
October 31, 2016

MEHLMAN, MD

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IRA MEHLMAN, MD
429 East 72™ Street Suite 10B
New York City, NY 10021

December 9, 7015

Fretdman Sanchez, LLP
Andrew M. Friedman, Esquire
16 Court Street. 26° Floor
Brooklyn, New York 12241

RE: Maria Quiridumbay, deceased
DOB: 08/20/1974
DOD: 07/29/2010

I am a physician duly Hcensed in New York with over forty-five years clinical practice
experience, with prealer than 20 years board certification in Emergency Medicine and director of
cinergency departments, also board certified in Loterm] Medicine, and a Fellow of both the
American College of Emergency Physicians (FACEP) and the Amcrican College of Physicians
{FACP). 1 received my bachelor degree im Physics and Molecufar Biology at Princeton
University and my Medical Degree at Come!l Medical College. |] have tanght medicine and
attained the level of Associatc Professor of Medicine. | have directed ambulatory care, urgent
care, and walk-in clinics as well as emergency medicine deparumenis during my carcez,

1 am estirely familiar with the accepied standards of medical care in the ficlds of ambulatory
health care center treaiment, emergency medicine and gynecologic medicine as it pertams to this
casc, for the period of time and region applicable in this maticr. 1 have no financial interest in
the outcome of any proceedings conceming this case.

The basis for my medical opinions are derived from my education and clinical experience as a
physician and dirccier of ambulatory care climics and emergency departments, and from the
teview of the following medical records and materials concerning the subject litigation:

(a) Medical Records from Hudson Valley Hospital Center, 2010;

(b) Medical Records from Westchester Medical Center, 2010:

{c) Medical Records from Angel B. Polimeni, MD.

(d) Transcripts of Depositions of Drs. [iyan Chung. MD and Sachin J. Shah, MD.

{c) Transcript of Deposition of Lindsay Seckircher

(f) Transcript of Deposition of Ingrid Deler-Garcia

(g) Transcript of Deposition of Restmni Kar, MD

(h) Transeript of Deposition of Theresa Ang, RN

In July 2010, Maria Quiridumbasy (hercinsfier. Maria) was a 35 year old Hispanic female,
Spanish speaking, mother of onc, pregnant (LMP 10/15/2009), with a previous history of
rheumatoid arthritis on prednisonc, otherwise healthy.

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On Sunday, July 11, 2010, she presented to the Hudson Valley Hospital Center, Cortlandt
Manor, NY. at 20:48 pm. with abdominal pain, backpain amd contractions, in labor. She was
admitted, had epidural anesthesia, sy Prtocin given, and delivered her baby vaginally 07/13/2010,
16:10 pm. The baby was bor septic and cared for in the neonate] ICU (NICU) from 7/13/10
until discharge 7/23/10. The mfant did well, On 7/14/10, postpartum day # 1, at around 17:05
pm a certficd nursc midwife (CNM-Brooks) was called to evaluate Maria because her
temperature was 101.9 orally, and the paticat felt hot. Earlier on 7/14/10 at sround 12-51 am her
temperature had bocn 102.2, The CNM discussed the casc with the OB-GYN Dr. Kar. A CBC
and onc blood culture were obtained os well as urine and vagmal cultures, and she was begun on
Ascef and Cflindamycin iv. Apparently the WBC was very clevated af 34,000 with 44 Bands on
TSO with blood cultures + for gram + cocci in chains. A report from the lab of “many beta
strep group A” was reported to Dr. Kar per progress note of Itileen Rossi, RN, 7/15/2010. Maria
was trated for ber “non focal postpartum fevers™ as presumed postpartum endomerritis with four
doses of Cefazolin and Clindamycin, iv. Dr. Kar and Sara Jordan MD were apparently the OB
doctors involved in ber care. On posiparrum day # 2 she wes seni bome without anubtotics, a
discharge note wes dictated by Sara Jonlan, MD. A CBC perfonacd on 7/16/10, was still very
abnormal with WBC 23.500 with feft shift 94 Neuzrophils including 13 Bands. Her hematocrit
and hemoglobin were low Heb 9.1, Het 26.5. She bad apparently received only two davs of
antibiotics for the “presumed™ infection and was discharged without further antibiotic therapy.

On Monday, 7/26/10, Maria had worsening aches and pains particularly im her legs and knecs
and contected her OB-GYN doctor Rashmi Kar, MD who advised ber to retum back to the same
Jiudson Valicy Hospital where she delivered and was discharged |] days earlier with the above
history. Dr. Kar told her to go to the ED and called and spoke with ED attending Hyan Chung,
MD recounting ber history. Maria returned to the emergency department (ED) with “left inec
pain and swelling, Sudden onset yesterday through the night (denies recent trauma) States she is
not able to walk, nat able to bear weight.” She came into the ED with a 10/10 tdaobbing pain at
around 15:02. She apparently was seen in the “Fustrack™ area of the ED. In the history of
present illness (HPI) she noted + swelling and the past medical history (PMH) noted the history
of rheumatoid arthritis (RA). The physical ouun of Maria noted Temp 98.7 oral, pulse $8, Resp
18 with BP 92/55 and a pulse ox at 100% on room air. The extremity ecam showed mild
swelling and tcoderncss. No female pelvic cxam wes performed despite recent past history.
Ancillary testing demonstrated a persistent very clevated WBC count a1 21,800 with s persisicnt
“Icft shift of neutrophils at 91%” (of which 9 were Bands) and knee x rays revealed 2
“moderately large cffusion™ in the region of the Icft supre-patcllar area. Lindsay Aarstod. 2
physician's assistant (PA) primarily “conducted the evaluation, management sod frealment™ of
Maria, 2s noted on page 3 of ber note. Dr. Hyan Chung was the FD physician staffing PA
Aarstad, and be apparently had spoken with Maria’s gyn doctor, “Dr. Kar prior to paticnt's
extival tg the ED, and she reports the patient was diagnosed with RA during prcguancy”. Despite
the ED Department Medical Decision Making component of page 3 of the ED chart remarking
that infectious arthritis should appropriaicly be foremost on the differcniial diagnosis of such a
paticnt, most especially with ber very recent history of unexplained post partum inftction with
the positive blood culture, the clinical impression was “joint cffusion™ and flare of RA. Maria
was given an iv Toradol injection and oral Vicodin for pain with some improvement and
discharged to follow up with orthopedics. [ could not find any mention during this encounter of
her recent infection, with positive blood culture only 11 days carlier—and this recent infectian

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had incomprebensibly been inadequately treated for only two days! Apparently Dr. tlyan Chung
wes the ED physician staffing this case responsible for supervising PA Aarsiad. Maria was
discharged on crutches with knec immobilizalion, sometime around 19:30 to 20:39, to take
Motrin and Vicodic and follow up with orthopedics. From pages 26-28 of Dr. Ching’s
deposition, he cannot say whether he sbsolutely saw this paticnt (stating “veguely I recall socing
her” ia his deposition page 27, linc 9) and this is 4 years later, and there were no notes, in fact,
Stating he did im the chan, and it would appear no officia) Spanish interpreter was used to
translate. Furthermore, in his deposition on page 44, lines 12-13, he stated that he was not aware
that Maria had an incompletely treated serious infection, only 1! days carlier al the very samc
hospital, where records would have been readily available had anyone looked. On 07/26/10,
clearly the communication bctween Dr. Chung and PA Austad was apparently superficial and
Virtual a1 best, and neither of them obtained anythme resembling a meaningful history regarding
their patient, Maria Quiridumbay. Neither of them performed a pelvic exam which was required.

On Wednesday, 7/28/10, Marta, with persisting multiple joint pains, returned again 19 Hudson
Valley £:D, arriving by EMS, at around 06:59 am, sccn in Triage complaining of left knoe and
right hand pain, Her vital signs included Temp 97.8; Pulso-121; Resp 18: BP 92/59. ter initial
evaluation by attending ED physician Sachin Shah, MD, revealed tachycardia of 121 alang with
bordcrfine low blood pressure, and “+ swelling, tenderness and crytbema of knees, hands”. [p
fact, at 08:06 RN Theresa Ang, noted “ich leg and right hand pain scale 10/10. Dilandid 2 mgm
ivp given”. Only some 45 minutes or so carlicr, at 07:17 am, nurse Ang, RN had given this
patient 2 Percocet tbs, po, and 30mgm im Toradol, without much apparent relief since she now
needed the iv Dilaudid. Of interest, the Peckskil] Community Voluntecr Ambulance EMS which
transferred Maria to Hudson Valley Hospital ED recorded two sets of blood pressures and pulses
during transfer in: 87/56 with pulse 136 and 92/60 with pulse 125. At the ED, ber BP and pulse
were initially 92/59 and 121. At discharge around 09:05 am, some two + hours after arrival, her
BP was 93/49 with pulse 125. These were conceming borderline low blood pressures and very
concerming clevaled pulse rates in a 35 year old patient. Pulsc ratc along with WBC counts arc
amongst two of the four critcrin suggesting a diagnosis of systemic inflaramstory response
syndrome (SIRS) in patients with possible sepsis and infection—and only two positives me
requited for that life-threatening diagnosis to be validly considered. Despite the preocding recem
history and this proscatation with unexplained pain, sbnormeal vital signs, and the recent series of
unexplained high WEC with left shifts (readily available for rcvicw had the computer records
been aecessed oF the medical records themselves, or phone cells madc). Agam, despite ali of the
above, agaio, no female pelvic cxamimiion wes performed. Maria wes discharged as
“arthropathy”. Dr. Shah's action discharging 2 35 ycar old pabent who came in by ambulance:
with very borderline lo abnormal vital signs inchaling a BP 92/59, respirations of 18, and pulse
of #21, with a pulsc of 125 at discharge, represents questionable medical practice. The vital
Signs are a safety net which when awry demand explanation: no explanation was apparent to Dr.
Shah or the treating team at the Hudson ED, and thus, this wes an unsafe unacceptable discharge.

Dr. Sachin Shah was deposed 07/3 1/2015, regarding his care of Maria Quiridumbay on 7/28/10.
On page 16, fines [3 and 38, be responded that he had access to her previous multiple visits and
ber OB records and that be looked at ber fast visit on 7/26/10, 2 days carlier. If he did kc would
have been aware of the fact that she had a very clevated WHC of 21,800 with a dramatic left
shift However, he appeared tn not be aware of that (page 24, linel3). If he were aware of any

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of her WBC since delivery 14 days earlier, in the sctting of her repeatedly very high uncxplamed
pulses he should have known she might have SIRS (which she did) along with sepsis. On page
18 line 6, Dr. Shah said he included septic arthritis in his differential diagnoses for this patiens,
but al? be did was “treai ber pain, and I reviewed her records” lines 14-15 and nuled out infection.
However, a5 1 clearly noted Maria had post partum fevers, very elevaied WBCs with high Band
counts, and positive + blood culture lor bacteria but unfortunatcly reocived only two days of iv
antibiotics, narncly, inadequate treatment. Had Dy. Shah appropriately and thoroughly, reviewed
the records be said he reviewed, be would have known that his patient had sepsis and SIRS and
needed urgent admission along with antibiotic covcrage and critical care with specialty
consultations including infectious disease. He did not do any testing and spent too litle time
getting « history, reviewing the records and evaluating her. When be was asked about the
prednisone she took for her rheumatoid arthritis, pages 21-22, be was only partially right:
prolonged low dosc prednisone could suppress her immune system to some degree and can also
suppress her normal adrenal-pituitary axts adversely affecting her own ability to produce stress
steroids like cortisanc. Incorrectly on page 25, linc 14, he stated he ruled out sepsis, whereas,
that would be done with ancillary blood tes! and probable consultations with infectious discasc
none of which be did. In fact the remarked upon abnormally clevated pulses Maria hed along
with the previously recorded WBCs and her clinica! picture poimted to the SIRS with sepsis, for
which she ultimately was admitted to Westchesicr Medical Center Hospital only hours later after
he inappropriaicly discharged her. Page 30-3! suggests the fact that Maria in fact hod joi
symptoms from discharge post partum. and Dr. Shah incorrectly assumed it was only very
recent the couse of her sympioms and findings was an incompletely inadcqualcly diagnosed,
persistcal, untreated post partum bacteremia with sepsis. As notcd in the deposition. a number of
the pam racdications Maria was prescribed by the Hudson Vallcy Hospital ED physicians could
have antipyretic effects masking any fever, however, fever is nol always present with sepsis or
SIRS. In fact, some of the sickest paticnts with sepsis and SIRS can become hypothermic. On
page 40, linc 17, 4 is apparent Dr. Shah did not know blood culture had been done, end he did
not know it had been positive for bacteria, but he did say on page 41, had he looked
appropriately he could have found it On page 43 of his deposition Dr. Shoh was asked how
much ime he might have spent with this patient, and his responses suggest bc spent between 1]
fo 16 minutes total with this patient: this patient came in by ambulance, bad persisient
worsening Complaints, had a very cicvated pulse repeatedly and un-cxplained, had very elevated
unexplained WBC counts, and a positive blood culture.

Dr. Shah was asked in his deposition what his patient died from and he said on page 48, lines 3-
4, “pulmonary embolism”. This he stated on page 48, line 7, was from “the autopsy report”. In
fact, as | understand, there wos no autopsy performed! tn fact, what this patient died from was
sepsis untreated, with multi-organ failure. Within 4 bours of Dr. Shah doing nothing for ber but
medicating for pain end discharging her, she returned to Westchester Medical Confer Hospital
ED and was immodiatcly diagnosed as septic shock. with SIRS and multi-orgm fuilore
manifcsted by gcute renal failure, coagulopathy manifested by deep venous thrombosis but ao
pulmonary embolism documented, anion gap metabolic acidosis, respiratory failure along with
intravescular collapse.

Apparently afler discharge from Hudson Vailey Hospital Ceater ED, by Dr. Sith around 09-00
am, and back at home Maria was seen by nurse Sktron Lavery. RN, of the Dominican Sisicrs

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Visiling Nurses. She found her at home diaphorctic, pulse 120 thready, very drowsy and slow to
respond, and 8 poor historian possibly hypothermic and with some episodes of diarrhea and
vomiting. She apparently recommended her to go to Westchester Medical Center.

Maria Quiridumbsy was at WCMC ED around 14:00, or within [css than 5 bours from having
been discharged by Dr. Shah at Itudson Vallcy Hospital ED. She presented Icthargic,
tachycardic, dizphoretic with weak pulse and initial BP difficult 10 obtain but 54/44 on 4
attempt. She had a swollen firm keft teg, spparently since three days. She was awake but in
severe distress on cxam. She had suffered painfully and unnecessarily for weeks. Her physical
Xam was positive for tachycardia, left fower extremity grossly swollen and generally tender
including calf, lefi knee effusion. and a pclvie exam with + purulent vaginal drainage at the
cervical os with mild right adnexal tendemess. Laboratory tests included BUN 27, creatinine 2.6,
with lactic and respiratory acidosis, She was admilted to the ICU requiring inmbation for
airway, was difficult to establish iv access, and was immediately begun on broad spectrum
antibiotic coverage for septic shock. Her initial diagnoses were septic shock. imtravascular
volume depiction, hypercoagulable siate, scute renal failure, anion gap metabolic acidosis, and
occlusive deep vein thrombosis m the right {coral and both popliteal veins. Her picture was
catirely consistent with scpsis and SIRS, sccondary to posi partum bacterial cndometritis
incompletely treated with secondary gencralized bacteremia und sepsis. Despite aggressive
hydration and broad spectrum anlibiotic coverage, she contimucd to deteriormic and had a
cardhorespratory arest with CPR/ACLS around 05:30 am end could not be resuscitated and was
pronounced dead al 05:44 am 07/29/10, some 15 hours aftcr admission, < 20 hours fom
discharge at Hudson Valicy Hospital. Cause of death was cardiopulmonary mrest secondary to
septic shock.

In summary, Maria Quiridambay was a 35 year old Hispanic female who delivered ber second
child 7/13/10, who was septic at birth. Post partum Maria spiked three fevers and was found to
have an clevated WBC with tefl shift, and blood culture was positive for Strep group A. She was
treated as probable post partum endomeiritis for wo days with iv antibiouies which for unknown
inexplicable reasons were not continued beyond two days. She was discharged to home on
7/5/10, developed musculoskeletal complaints and swelling. continued to rum very elevated
WBC with left shift, and despite multipic visits fo Hudson Valicy Medical Center post partum.
726/10 and 7/28/10 with progressive musculoskeletal complaints felt to be “rheumatoid
arthsitis” did poorly deteriorating. Inexplicably, despite the clear known facts of ber post parnum
incompletcly treated infection, no connection was made between thai and bet uoexplaine:!
complainis and faifure to do well on the subsequent visits. Finally. too late, she was scot by
visiting nurse scrviees to WCMC ED where she was in septic shock with SIRS and muki-organ
system failure and died 7/29/10,

The OB-GYN service and ber treating doctors failed to mect the standards of care and
contributed to her unnecessary death Aficr she was diagnosed as having probable post partum
codemectritis with + blood cultures and very clevated WBC, she was treated with an imdequate
incomplete course of antibiotics, Drs. Kar ant! Jordan, and dhe rest of the OB-GYN treating
team. failed to perform a complete and appropriate history and appreciate its clinical
significance. These same doctors and team failed to appreciaic the full exam and finding and
anciliary tests including the persistent elevaied WBC with left shift and the positive blood culture

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and the clinical significance of this. Thc same doctors failed to treat with appropeiate antibiotics
for appropriate length of time, thus, inadequately treating this patient. Had they continued
correct antibiotics for appropriaic time, paticnt Maria would have done well. They discharged
Maria prematurely and incompletely teated ber, deviating from standards of care, causing her
harm and ultimately her unnecessary painful death,

Dr. Chung and PA Aarstad and their team of bealthearc providers failed to meet the standards of
medical casc in cvalusling and treating her and caused her harm contributing to her death. Both
of them and their team were at Hudson Vallcy Hospital ED, and had ready access to the
physicians, medical records, ancillary lab tcst performed, md hed sample information and
opportumity to access her history and records to prevent her unnecessary death They deviated
from standards of medical care, contributing to ber unnecessery death They failed to take an
appropriaic and complete history and appreciate its clinical significance. they failcd to perform 2
compicte and appropriate cxum und to appreciate its clinical significance, they failed to review
the readily available records, lab results including WBCs and thc + blood culture, and they failed
to appreciate the clinical significance of these materials, thus, inappropriately discharging paticni
Moria, untreated, leading to firther deterioration and ultimately contributing to her unnecessary
catiscly preventable painful death. She needed to be admitted, the rocords and leb reviewed, and
be started on o complcic course of appropriate antibiotic and consuhations with infectious
disease consultants obtained and she would have survived. Furthermore, Dr. Chung did not mect
the standard of care in his supervision of PA Aarsted. His supervision of the PA was virtual and
inadequate, ond morc likely than not, he did not appropriately cvaluate Mazia. Furthermore,
Maria Quiridumbay was incorrectly inappropriately triaged to “Fastrack” at the Hudson Valley
laspital Centcr ED on 7/26/10. when in fact she was mest probably the sickest paticul in thal
ED when she arcived and should have been seen and treated in the main critical care area by the
best physician available, not by 4 PA, for the most part unsupervised. This was a failure of the
Hudson Hospital and its ED triage sysicm and of its “team™ caring for Marin.

Sachin Shah, MD. did not mect the standard of care. He failed to approciste the medical history,
he did not perform on appropriate and complete review of the readily available medical records
of Maria, he did not perform an appropriate and thorough physical exam to appreciate her
condition, and he ordered no further testing and be inappropriately did not admit patient Maria,
obtain appropriaic consultation and treat her for probable carly sepsis with SIRS. He failed to
eppreeiate the clinical signiftemnce of her history, failed to appreciaic the clinical importance of
her laboratory WECs and + blood culture incomplcicly treated, and incorrectly discharged her
home, missing the inst opportunity to admit her timely and initiate cmerpency tresiment to save
her. Whee Maria was cvaluated and seen by Dr. Shah he was required to admit her ond urgently
initiate supportive care, appropriate aggressive hydration, and broad spectrum antibiotics. He
failed to appreciate the clinical significance of the history, lab results, and Marin’s clinical
course. This denied her any chance of survival.

Ali of my above medical opinions arc held to 2 reasonzble degree of medical certainty and
probability. I reserve the right to add to or amend my above opinions should additional material
become available.

Ira Mehiman, MD

FACEP FACP

CAS 7A OFM BERATED FA CH RAUB? PA0" 9 2

EDUCATION:

SOCIETIES:

EXPERIENCE
&

APPOINTMENTS:

Curriculum Vitae

CORNELL MEDICAL COLLEGE
MD Degree

PRINCETON UNIVERSITY
BS Degree in Physics and Molecular Biology

Internship and Internal Medicine Residency

Internal Medicine Residency/Endocrinology Fellowship
Walter Reed Army Medical Center, Washington, DC

Fellow of the American College of Physicians

Fellow of the American College of Emergency Physicians
Board-Certified Internal Medicine

Board-Certified Endocrinology/Metabolism
Board-Certified Emergency Medicine

Member, DC Academy of Medicine

US Army Medical Corps, General Medical Officer, Europe
Chief, Emergency Medicine Department Washington, DC
Walter Reed Army Medical Center (WRAMC)
Attending Staff, Internal Medicine, WRAMC
Assistant Professor of Medicine, USUHS
Associate Professor of Medicine, USUHS
Clinical Assistant Professor of Medicine,
Georgetown University Medical Center

NYC, NY
June 1968

PRINCETON, NJ
June 1963

S.F.,CA
1968-1970

1974-1979

{FACP)
(FACEP)
1977

1979

1991, 2001
Present

1970-1974

1981-1992
1979-1981
1981-1992
1996-2001

1980-1992
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Ira Mehlman, M.D.

Page 2
U.S. Congressional Escort Physician 1979-1992
Assistant Chief, Emergency Medicine Department,
Sibley Memorial Hospital, Washington, DC 1992-1993
Senior Attending Staff, Emergency Department,
Washington Hospital Center 1993-1994
Chief Physician, Internal Medicine, PsyCompCare,
Silver Spring, MD 1992-1994
Director, Emergency Medicine/Acute Care
Bethesda National Naval Medical Center 1994-1997
Director, Department of Emergency Medicine
Greater Southeast Hospital, Washington, DC 01/98-06/98
Director, Department of Emergency Medicine
Memorial Medica! Center, South Amboy, NJ 11/98-08/99
Senior Attending Staff, Emergency Department
Walter Reed Army Medical Center, Washington, DC 1998-2001
Director, Department of Emergency Medicine
Saint Mary’s Hospital, Leonardtown, MD 10/99-06/01
Director, Department of Emergency Medicine
Mary Immaculate Hospital, Saint Vincent 06/01-1 1/03
Catholic Medical Centers, New York, NY
Director, Department of Emergency Medicine 11/03-10/05
Nyack Hospital, Nyack, New York
Associate Director, Department of Emergency Medicine 10/05 — 1/06
Nyack Hospital, Nyack, New York
Senior Staff Attending, Department of Emergency Medicine 1/06 — 11/06
Nyack Hospital, Nyack, New York
Staff Attending, Department of Emergency Medicine 1/07 — present
St. Joseph’s Medical Center, Yonkers, New York
Staff Attending, Department of Emergency Medicine 2/07 — present
North General Hospital, New York City, New York
LICENSES: New York current
LANGUAGES: Bilingual in French and English. Conversant in Spanish.
PERSONAL: U.S. Citizen. Born in New York City. Retired U.S. Army Medical Corps Colonel. Trained

in Internal Medicine and Endocrinology. Traveled extensively with many congressional
delegations as a physician to congressmen traveling throughout the world. Extensive
experience in Emergency and Critical Care Medicine. Experience with HMO general
medicine, Have practiced and taught in busy, high acuity emergency departments.
Experience with problems and care of handicapped patients.
